             Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 1 of 100

                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        38                                                               Invoice For    Texas DFPS/HHSC
Issue Date        10/11/2022

Due Date          11/10/2022 (Net 30)

Subject           Texas Appleseed Monitoring Team; September
                  2022




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (09/01/2022 -            137.18            $209.41            $28,727.05
                  09/30/2022)


Product           Expenses for Texas Foster Care Court Monitoring - Travel               1.00           $4,574.44            $4,574.44
                  (09/01/2022 - 09/30/2022)


Service           Texas Foster Care Monitoring (09/01/2022 - 09/30/2022)             2,414.15            $290.17           $700,517.49


Product           Expenses for Texas Foster Care Monitoring (09/01/2022 -                1.00           $1,856.55            $1,856.55
                  09/30/2022)


                                                                                                 Amount Due            $735,675.53




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                             Page 1 of 1
             Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 2 of 100

                                                                                             INVOICE
                                                                                    From     Texas Appleseed
                                                                                             1609 Shoal Creek Blvd
                                                                                             Ste 201
                                                                                             Austin, TX 78701




Invoice ID        38                                                           Invoice For   Texas DFPS/HHSC
Issue Date        10/11/2022

Due Date          11/10/2022 (Net 30)

Subject           Texas Appleseed Monitoring Team; September
                  2022




Item Type         Description                                                     Quantity         Unit Price          Amount

Service           Texas Foster Care Court Monitoring - Travel - 09/06/2022 -         2.92           $197.50           $576.70
                  Travel / Beth Mitchell


Service           Texas Foster Care Court Monitoring - Travel - 09/06/2022 -         5.20           $325.00          $1,690.00
                  Travel / Shelly Voss


Service           Texas Foster Care Court Monitoring - Travel - 09/06/2022 -         5.00           $125.00           $625.00
                  Travel / Catherine Morris


Service           Texas Foster Care Court Monitoring - Travel - 09/06/2022 -         4.33           $325.00          $1,407.25
                  Travel / Kristi Law


Service           Texas Foster Care Court Monitoring - Travel - 09/07/2022 -         0.67           $162.50           $108.88
                  Travel / Monica Santiago


Service           Texas Foster Care Court Monitoring - Travel - 09/07/2022 -         2.08           $162.50           $338.00
                  Travel / Victoria Foster


Service           Texas Foster Care Court Monitoring - Travel - 09/07/2022 -         0.41           $325.00           $133.25
                  Travel / Shelly Voss


Service           Texas Foster Care Court Monitoring - Travel - 09/07/2022 -         0.50           $125.00            $62.50
                  Travel / Catherine Morris


Service           Texas Foster Care Court Monitoring - Travel - 09/07/2022 -         0.67           $325.00           $217.75
                  Travel / Kristi Law




                                                             Page 1 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 3 of 100

Service        Texas Foster Care Court Monitoring - Travel - 09/07/2022 -   0.42   $197.50     $82.95
               Travel / Beth Mitchell


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   0.83   $162.50    $134.88
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   9.42   $162.50   $1,530.75
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   1.42   $162.50    $230.75
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   0.42   $325.00    $136.50
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   0.50   $125.00     $62.50
               Travel / Catherine Morris


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   0.25   $325.00     $81.25
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/08/2022 -   0.42   $197.50     $82.95
               Travel / Beth Mitchell


Service        Texas Foster Care Court Monitoring - Travel - 09/09/2022 -   5.10   $325.00   $1,657.50
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/09/2022 -   3.00   $125.00    $375.00
               Travel / Catherine Morris


Service        Texas Foster Care Court Monitoring - Travel - 09/09/2022 -   4.75   $325.00   $1,543.75
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/09/2022 -   3.17   $197.50    $626.08
               Travel / Beth Mitchell


Service        Texas Foster Care Court Monitoring - Travel - 09/15/2022 -   1.00   $325.00    $325.00
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   2.00   $212.50    $425.00
               Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   1.00   $212.50    $212.50
               EVE/WKND Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   4.67   $100.00    $467.00
               Travel / Nora Sawyer


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   3.58   $197.50    $707.05
               Travel / Linda Brooke




                                                          Page 2 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 4 of 100

Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   4.00   $125.00   $500.00
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   0.67   $125.00    $83.75
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   4.67   $162.50   $758.88
               Travel / Viveca Martinez


Service        Texas Foster Care Court Monitoring - Travel - 09/20/2022 -   2.67   $100.00   $267.00
               Travel / Adrian Gaspar


Service        Texas Foster Care Court Monitoring - Travel - 09/21/2022 -   1.00   $100.00   $100.00
               Travel / Nora Sawyer


Service        Texas Foster Care Court Monitoring - Travel - 09/21/2022 -   1.00   $197.50   $197.50
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 09/21/2022 -   1.00   $125.00   $125.00
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 09/21/2022 -   1.00   $162.50   $162.50
               Travel / Viveca Martinez


Service        Texas Foster Care Court Monitoring - Travel - 09/21/2022 -   1.00   $100.00   $100.00
               Travel / Adrian Gaspar


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   1.50   $212.50   $318.75
               EVE/WKND Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   2.00   $212.50   $425.00
               Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   4.50   $100.00   $450.00
               Travel / Nora Sawyer


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   4.17   $197.50   $823.58
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   5.00   $125.00   $625.00
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   4.50   $162.50   $731.25
               Travel / Viveca Martinez


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   0.50   $125.00    $62.50
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 09/22/2022 -   2.75   $100.00   $275.00
               Travel / Adrian Gaspar




                                                          Page 3 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 5 of 100

Service        Texas Foster Care Court Monitoring - Travel - 09/27/2022 -   5.30    $325.00    $1,722.50
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/27/2022 -   5.20    $325.00    $1,690.00
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/28/2022 -   2.30    $162.50     $373.75
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 09/28/2022 -   1.67    $162.50     $271.38
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 09/28/2022 -   1.17    $325.00     $380.25
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/28/2022 -   1.20    $325.00     $390.00
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/29/2022 -   1.25    $162.50     $203.13
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 09/29/2022 -   1.75    $162.50     $284.38
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 09/29/2022 -   0.55    $325.00     $178.75
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/29/2022 -   0.61    $325.00     $198.25
               Travel / Shelly Voss


Service        Texas Foster Care Court Monitoring - Travel - 09/30/2022 -   1.42    $162.50     $230.75
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 09/30/2022 -   4.00    $325.00    $1,300.00
               Travel / Kristi Law


Service        Texas Foster Care Court Monitoring - Travel - 09/30/2022 -   5.10    $325.00    $1,657.50
               Travel / Shelly Voss


Product        Expenses for Texas Foster Care Court Monitoring - Travel     1.00   $4,574.44   $4,574.44
               (09/01/2022 - 09/30/2022)


Service        Texas Foster Care Monitoring - 09/01/2022 - Document         7.75    $200.00    $1,550.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/01/2022 - Document         0.46    $300.00     $138.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document         0.26    $300.00      $78.00
               Review/Data Analysis/Verification Work / Robert McManus




                                                          Page 4 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 6 of 100

Service        Texas Foster Care Monitoring - 09/01/2022 - Document        8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.81   $300.00    $243.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.82   $300.00    $246.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.28   $300.00     $84.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.56   $300.00    $168.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        2.75   $250.00    $687.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/01/2022 - Project         5.50   $300.00   $1,650.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/01/2022 - Document        2.50   $300.00    $750.00
               Review/Data Analysis/Verification Work / Monica Benedict




                                                          Page 5 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 7 of 100

Service        Texas Foster Care Monitoring - 09/01/2022 - Document       7.83   $325.00   $2,544.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       8.50   $395.00   $3,357.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/01/2022 - Project        1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/01/2022 - Project        5.00   $325.00   $1,625.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/01/2022 - Project        4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       4.60   $325.00   $1,495.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/01/2022 - Project        8.00   $200.00   $1,600.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/01/2022 - Document       7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       0.20   $300.00     $60.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       0.21   $300.00     $63.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       0.60   $300.00    $180.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document       8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer




                                                           Page 6 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 8 of 100

Service        Texas Foster Care Monitoring - 09/02/2022 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              1.01   $300.00    $303.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              0.83   $300.00    $249.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              0.29   $300.00     $87.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              5.33   $395.00   $2,105.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/02/2022 - Project               0.92   $395.00    $363.40
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/02/2022 - Report and            2.00   $395.00    $790.00
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              0.51   $300.00    $153.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              8.33   $325.00   $2,707.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/02/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/02/2022 - Document              2.10   $325.00    $682.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/02/2022 - Meetings with         0.36   $325.00    $117.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


                                                            Page 7 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 9 of 100

Service        Texas Foster Care Monitoring - 09/02/2022 - Project         6.00   $200.00   $1,200.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        0.91   $300.00    $273.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        0.51   $300.00    $153.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        0.78   $300.00    $234.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        0.24   $300.00     $72.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/03/2022 - EVE/WKND        3.00   $425.00   $1,275.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/03/2022 - Document        2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/04/2022 - Document        0.36   $300.00    $108.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/04/2022 - Document        0.81   $300.00    $243.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/04/2022 - Document        0.68   $300.00    $204.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/04/2022 - Document        0.08   $300.00     $24.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/04/2022 - EVE/WKND        4.00   $425.00   $1,700.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/04/2022 - Document        3.83   $325.00   $1,244.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/05/2022 - Document        0.80   $300.00    $240.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/05/2022 - Document        0.08   $300.00     $24.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/05/2022 - Document        0.82   $300.00    $246.00
               Review/Data Analysis/Verification Work / Robert McManus


                                                         Page 8 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 10 of 100

Service        Texas Foster Care Monitoring - 09/05/2022 - Document              0.40   $300.00    $120.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              0.23   $300.00     $69.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              0.25   $300.00     $75.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/05/2022 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/05/2022 - Meetings with         1.25   $250.00    $312.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/05/2022 - Document              3.17   $395.00   $1,252.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/05/2022 - Project               5.00   $325.00   $1,625.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              0.86   $300.00    $258.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              6.83   $200.00   $1,366.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              0.50   $300.00    $150.00
               Review/Data Analysis/Verification Work / Robert McManus




                                                            Page 9 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 11 of 100

Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with         1.17   $200.00    $234.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              1.25   $250.00    $312.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              0.25   $300.00     $75.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/06/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              1.23   $300.00    $369.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              0.41   $300.00    $123.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              0.06   $300.00     $18.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/06/2022 - Project               2.00   $395.00    $790.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/06/2022 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with         5.75   $200.00   $1,150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera




                                                           Page 10 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 12 of 100

Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 2.25   $200.00    $450.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 1.90   $325.00    $617.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/06/2022 - Project                  3.00   $325.00    $975.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 1.00   $120.00    $120.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with            0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 09/06/2022 - Document                 2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


                                                            Page 11 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 13 of 100

Service        Texas Foster Care Monitoring - 09/06/2022 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/06/2022 - Project                9.00   $325.00   $2,925.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/06/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/07/2022 - Meetings with          1.43   $200.00    $286.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               1.11   $300.00    $333.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/07/2022 - EVE/WKND               1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/07/2022 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              11.33   $325.00   $3,682.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              10.55   $325.00   $3,428.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               8.40   $325.00   $2,730.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              11.34   $325.00   $3,685.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/07/2022 - Meetings with          1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 12 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 14 of 100

Service        Texas Foster Care Monitoring - 09/07/2022 - Document               6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/07/2022 - Report and             1.00   $395.00    $395.00
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              11.33   $250.00   $2,832.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/07/2022 - Project                8.00   $200.00   $1,600.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              10.33   $325.00   $3,357.25
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/07/2022 - Project                4.00   $325.00   $1,300.00
               Management & Planning / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/07/2022 - Document              11.33   $395.00   $4,475.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/07/2022 - Project                8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/07/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/08/2022 - Document               0.57   $300.00    $171.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/08/2022 - Document               7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/08/2022 - Meetings with          1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


                                                           Page 13 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 15 of 100

Service        Texas Foster Care Monitoring - 09/08/2022 - Document              1.30   $300.00    $390.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              0.64   $300.00    $192.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/08/2022 - Project               4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              9.33   $325.00   $3,032.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              9.25   $325.00   $3,006.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/08/2022 - Meetings with         1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              7.75   $395.00   $3,061.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/08/2022 - Report and            1.00   $395.00    $395.00
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/08/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/08/2022 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera




                                                           Page 14 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 16 of 100

Service        Texas Foster Care Monitoring - 09/08/2022 - Project               5.00   $200.00   $1,000.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              9.25   $325.00   $3,006.25
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              9.25   $395.00   $3,653.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/08/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/08/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/09/2022 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/09/2022 - Meetings with         1.83   $200.00    $366.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/09/2022 - Document              0.76   $300.00    $228.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/09/2022 - Document              3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/09/2022 - Project               2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/09/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/09/2022 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/09/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke




                                                           Page 15 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 17 of 100

Service        Texas Foster Care Monitoring - 09/09/2022 - Document        4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/09/2022 - Project         6.00   $200.00   $1,200.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        7.75   $250.00   $1,937.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/09/2022 - Document        6.25   $325.00   $2,031.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/09/2022 - Project         7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/10/2022 - Document        0.94   $300.00    $282.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/10/2022 - Document        0.26   $300.00     $78.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/10/2022 - Document        0.85   $300.00    $255.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/10/2022 - Document        0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/10/2022 - EVE/WKND        7.00   $425.00   $2,975.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/10/2022 - Document        1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/11/2022 - Document        0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus




                                                         Page 16 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 18 of 100

Service        Texas Foster Care Monitoring - 09/11/2022 - Document              1.98   $300.00    $594.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              0.53   $300.00    $159.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              0.84   $300.00    $252.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              0.14   $300.00     $42.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/11/2022 - EVE/WKND              3.50   $425.00   $1,487.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/11/2022 - Document              3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              0.49   $300.00    $147.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              6.08   $200.00   $1,216.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with         1.17   $200.00    $234.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/12/2022 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict




                                                           Page 17 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 19 of 100

Service        Texas Foster Care Monitoring - 09/12/2022 - Project                5.00   $300.00   $1,500.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/12/2022 - Project                3.00   $325.00    $975.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               5.17   $325.00   $1,680.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/12/2022 - Document               3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with          2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/12/2022 - Report and             2.83   $395.00   $1,117.85
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/12/2022 - Project                1.42   $395.00    $560.90
               Management & Planning / Linda Brooke



                                                            Page 18 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 20 of 100

Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with            3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with            1.67   $325.00    $542.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 6.33   $325.00   $2,057.25
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/12/2022 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/12/2022 - Document                 0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/12/2022 - Project                  8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/13/2022 - Document                 6.10   $200.00   $1,220.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/13/2022 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/13/2022 - Meetings with            1.40   $200.00    $280.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/13/2022 - Document                 6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Jessica Tyler




                                                            Page 19 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 21 of 100

Service        Texas Foster Care Monitoring - 09/13/2022 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/13/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              9.33   $325.00   $3,032.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              5.55   $325.00   $1,803.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/13/2022 - Report and            6.25   $325.00   $2,031.25
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              2.25   $395.00    $888.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/13/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/13/2022 - Project               1.50   $395.00    $592.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              4.17   $395.00   $1,647.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


                                                           Page 20 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 22 of 100

Service        Texas Foster Care Monitoring - 09/13/2022 - Document              1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/13/2022 - Document              0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/13/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.74   $300.00    $222.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.08   $300.00     $24.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.58   $300.00    $174.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Meetings with         0.25   $425.00    $106.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              3.61   $300.00   $1,083.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              4.50   $120.00    $540.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              3.50   $120.00    $420.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              2.72   $325.00    $884.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


                                                           Page 21 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 23 of 100

Service        Texas Foster Care Monitoring - 09/14/2022 - Document               0.32   $300.00     $96.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               0.26   $300.00     $78.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               1.54   $300.00    $462.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/14/2022 - Project                4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               9.75   $325.00   $3,168.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/14/2022 - Report and            10.00   $325.00   $3,250.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/14/2022 - Meetings with          2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/14/2022 - Project                3.00   $395.00   $1,185.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/14/2022 - Report and             1.75   $395.00    $691.25
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               2.67   $395.00   $1,054.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/14/2022 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Alyssa Baquera




                                                           Page 22 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 24 of 100

Service        Texas Foster Care Monitoring - 09/14/2022 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2022 - Document              0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              1.03   $300.00    $309.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              6.58   $200.00   $1,316.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/15/2022 - Meetings with         1.42   $200.00    $284.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              0.19   $300.00     $57.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/15/2022 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/15/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              9.60   $325.00   $3,120.00
               Review/Data Analysis/Verification Work / Monica Santiago




                                                           Page 23 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 25 of 100

Service        Texas Foster Care Monitoring - 09/15/2022 - Document              7.83   $325.00   $2,544.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/15/2022 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/15/2022 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              3.40   $325.00   $1,105.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/15/2022 - Report and            5.75   $325.00   $1,868.75
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              3.33   $395.00   $1,315.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/15/2022 - Meetings with         4.42   $395.00   $1,745.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/15/2022 - Project               1.50   $395.00    $592.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/15/2022 - Report and            0.75   $395.00    $296.25
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              2.58   $395.00   $1,019.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law




                                                           Page 24 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 26 of 100

Service        Texas Foster Care Monitoring - 09/15/2022 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/15/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/15/2022 - Document              2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/15/2022 - Project               8.00   $200.00   $1,600.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              6.58   $200.00   $1,316.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/16/2022 - Meetings with         1.25   $200.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/16/2022 - Report and            1.00   $250.00    $250.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 09/16/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/16/2022 - Project               0.75   $325.00    $243.75
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              7.75   $325.00   $2,518.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


                                                           Page 25 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 27 of 100

Service        Texas Foster Care Monitoring - 09/16/2022 - Report and            5.50   $325.00   $1,787.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/16/2022 - Meetings with         4.00   $395.00   $1,580.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/16/2022 - Project               0.58   $395.00    $229.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              3.67   $395.00   $1,449.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              6.67   $325.00   $2,167.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              1.83   $250.00    $457.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              2.42   $250.00    $605.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/16/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              3.58   $395.00   $1,414.10
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/16/2022 - Project               1.50   $200.00    $300.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/16/2022 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


                                                           Page 26 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 28 of 100

Service        Texas Foster Care Monitoring - 09/17/2022 - EVE/WKND        3.00   $425.00   $1,275.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/17/2022 - EVE/WKND        3.00   $425.00   $1,275.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/17/2022 - EVE/WKND        1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/17/2022 - Document        2.83   $395.00   $1,117.85
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/17/2022 - Document        3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/17/2022 - Document        0.53   $300.00    $159.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/17/2022 - Document        0.28   $300.00     $84.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        0.29   $300.00     $87.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        0.27   $300.00     $81.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        0.58   $395.00    $229.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/18/2022 - Project         3.00   $395.00   $1,185.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/18/2022 - EVE/WKND        4.00   $425.00   $1,700.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        0.25   $300.00     $75.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        1.32   $325.00    $429.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/18/2022 - Document        2.08   $325.00    $676.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/18/2022 - Report and      3.00   $325.00    $975.00
               Document Preparation / Shelly Voss




                                                          Page 27 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 29 of 100

Service        Texas Foster Care Monitoring - 09/18/2022 - Document              1.17   $250.00    $292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              3.75   $200.00    $750.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         1.64   $200.00    $328.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.69   $300.00    $207.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/19/2022 - Project               0.50   $425.00    $212.50
               Management & Planning / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/19/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         2.50   $395.00    $987.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/19/2022 - Project               2.00   $395.00    $790.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              5.25   $395.00   $2,073.75
               Review/Data Analysis/Verification Work / Linda Brooke




                                                           Page 28 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 30 of 100

Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.20   $300.00     $60.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/19/2022 - Report and            2.00   $250.00    $500.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.83   $325.00    $269.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/19/2022 - Report and            4.50   $325.00   $1,462.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              6.67   $250.00   $1,667.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              5.33   $250.00   $1,332.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris




                                                           Page 29 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 31 of 100

Service        Texas Foster Care Monitoring - 09/19/2022 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              3.17   $395.00   $1,252.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/19/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/19/2022 - Project               1.50   $200.00    $300.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/19/2022 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/20/2022 - Report and            5.00   $250.00   $1,250.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 09/20/2022 - Meetings with         1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/20/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/20/2022 - Report and            1.92   $325.00    $624.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 30 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 32 of 100

Service        Texas Foster Care Monitoring - 09/20/2022 - Document               2.83   $200.00    $566.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/20/2022 - Project                1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/20/2022 - Project                0.50   $250.00    $125.00
               Management & Planning / Shay Price


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               0.95   $325.00    $308.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/20/2022 - Meetings with          1.08   $325.00    $351.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               2.77   $325.00    $900.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/20/2022 - Project                0.50   $200.00    $100.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/20/2022 - Project                3.50   $325.00   $1,137.50
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               1.67   $395.00    $659.65
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/20/2022 - Document               3.08   $200.00    $616.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


                                                            Page 31 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 33 of 100

Service        Texas Foster Care Monitoring - 09/20/2022 - Project               0.50   $200.00    $100.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              1.75   $200.00    $350.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/20/2022 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/20/2022 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              0.38   $300.00    $114.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              0.94   $300.00    $282.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              0.12   $300.00     $36.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              1.09   $325.00    $354.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/21/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              8.00   $425.00   $3,400.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/21/2022 - EVE/WKND              1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/21/2022 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers




                                                           Page 32 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 34 of 100

Service        Texas Foster Care Monitoring - 09/21/2022 - Document               8.50   $395.00   $3,357.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               5.33   $250.00   $1,332.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/21/2022 - Meetings with          1.10   $325.00    $357.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               2.10   $325.00    $682.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/21/2022 - Meetings with          0.26   $325.00     $84.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/21/2022 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/22/2022 - Report and             1.00   $425.00    $425.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Jessica Tyler




                                                            Page 33 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 35 of 100

Service        Texas Foster Care Monitoring - 09/22/2022 - Meetings with            0.50   $300.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 09/22/2022 - Project                  0.50   $300.00    $150.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 6.42   $325.00   $2,086.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/22/2022 - Meetings with            0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/22/2022 - Project                  0.50   $200.00    $100.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                12.00   $325.00   $3,900.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 7.17   $395.00   $2,832.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/22/2022 - Project                  0.50   $250.00    $125.00
               Management & Planning / Shay Price


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 0.58   $250.00    $145.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/22/2022 - Meetings with            0.42   $250.00    $105.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/22/2022 - Document                 5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Catherine Morris




                                                            Page 34 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 36 of 100

Service        Texas Foster Care Monitoring - 09/22/2022 - Meetings with          1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2022 - Project                0.50   $325.00    $162.50
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               3.33   $395.00   $1,315.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/22/2022 - Project                0.50   $200.00    $100.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/22/2022 - Document               7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/23/2022 - Project                0.50   $200.00    $100.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               3.85   $200.00    $770.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               2.25   $250.00    $562.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/23/2022 - Project                1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/23/2022 - Document               5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


                                                            Page 35 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 37 of 100

Service        Texas Foster Care Monitoring - 09/23/2022 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/23/2022 - Meetings with         0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/23/2022 - Report and            0.43   $325.00    $139.75
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              2.40   $325.00    $780.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/23/2022 - Report and            0.20   $325.00     $65.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              0.67   $300.00    $201.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              5.33   $325.00   $1,732.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              8.42   $325.00   $2,736.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/23/2022 - Document              5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke




                                                           Page 36 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 38 of 100

Service        Texas Foster Care Monitoring - 09/23/2022 - Project       3.75   $395.00   $1,481.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/23/2022 - Document      8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/23/2022 - Document      5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/23/2022 - Report and    5.75   $200.00   $1,150.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/23/2022 - Document      7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/24/2022 - Document      0.09   $300.00     $27.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2022 - Document      5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/24/2022 - Document      2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/24/2022 - Document      1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/24/2022 - Document      2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/24/2022 - EVE/WKND      7.00   $425.00   $2,975.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      0.75   $300.00    $225.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      0.10   $300.00     $30.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      0.47   $300.00    $141.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      0.40   $300.00    $120.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2022 - Document      4.42   $395.00   $1,745.90
               Review/Data Analysis/Verification Work / Linda Brooke




                                                         Page 37 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 39 of 100

Service        Texas Foster Care Monitoring - 09/25/2022 - Project            4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/25/2022 - EVE/WKND           4.50   $425.00   $1,912.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/26/2022 -                    0.45   $300.00    $135.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2022 -                    0.51   $300.00    $153.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2022 -                    1.06   $300.00    $318.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/26/2022 -                    0.76   $300.00    $228.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           3.00   $425.00   $1,275.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/26/2022 -                    0.51   $300.00    $153.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2022 - Document           9.08   $325.00   $2,951.00
               Review/Data Analysis/Verification Work / Nancy Arrigona




                                                          Page 38 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 40 of 100

Service        Texas Foster Care Monitoring - 09/26/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/26/2022 - Meetings with           2.50   $395.00    $987.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                1.83   $395.00    $722.85
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/26/2022 - Meetings with           1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                1.67   $325.00    $542.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/26/2022 - Report and              8.00   $200.00   $1,600.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                6.50   $395.00   $2,567.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/26/2022 - Project                 1.50   $395.00    $592.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/26/2022 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/26/2022 - Project                 4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/26/2022 - Document                4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/26/2022 - Report and              1.00   $325.00    $325.00
               Document Preparation / Kristi Law




                                                            Page 39 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 41 of 100

Service        Texas Foster Care Monitoring - 09/26/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 09/26/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 09/27/2022 -                          1.03   $300.00    $309.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2022 -                          0.06   $300.00     $18.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2022 - Document                 8.08   $325.00   $2,626.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/27/2022 - Document                 7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/27/2022 -                          0.25   $300.00     $75.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2022 -                          0.83   $300.00    $249.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2022 - Meetings with            1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/27/2022 - Project                  1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/27/2022 - Document                 6.50   $300.00   $1,950.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/27/2022 -                          0.08   $300.00     $24.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2022 - Document                 4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler



                                                            Page 40 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 42 of 100

Service        Texas Foster Care Monitoring - 09/27/2022 - Document              0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/27/2022 - Report and            8.00   $200.00   $1,600.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/27/2022 -                       0.50   $200.00    $100.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/27/2022 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              8.17   $395.00   $3,227.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/27/2022 - Project               0.92   $395.00    $363.40
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/27/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez




                                                           Page 41 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 43 of 100

Service        Texas Foster Care Monitoring - 09/27/2022 - Meetings with          0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/27/2022 - Report and             1.00   $325.00    $325.00
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 09/27/2022 - Document               0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/27/2022 - Report and             1.50   $325.00    $487.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 09/28/2022 - Meetings with          3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/28/2022 - Document              12.20   $325.00   $3,965.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               5.25   $395.00   $2,073.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/28/2022 - Meetings with          0.25   $325.00     $81.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/28/2022 - Report and             8.00   $200.00   $1,600.00
               Document Preparation / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/28/2022 - Document               6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr




                                                           Page 42 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 44 of 100

Service        Texas Foster Care Monitoring - 09/28/2022 - Document                 10.83   $325.00   $3,519.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  2.00   $120.00    $240.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/28/2022 - Project                   2.42   $395.00    $955.90
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  6.67   $395.00   $2,634.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  6.25   $250.00   $1,562.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                  5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/28/2022 - Project                   4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/28/2022 - Meetings with             0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/28/2022 - Meetings with             9.78   $325.00   $3,178.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 09/28/2022 - Document                 12.10   $325.00   $3,932.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/29/2022 - Meetings with             1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/29/2022 - Document                  7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/29/2022 - Project                   1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/29/2022 - Document                  8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price



                                                            Page 43 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 45 of 100

Service        Texas Foster Care Monitoring - 09/29/2022 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.95   $325.00   $2,908.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/29/2022 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 09/29/2022 -                       0.50   $200.00    $100.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              4.50   $200.00    $900.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.75   $395.00   $3,456.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/29/2022 - Project               1.42   $395.00    $560.90
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 44 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 46 of 100

Service        Texas Foster Care Monitoring - 09/29/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              9.08   $325.00   $2,951.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 09/29/2022 - Meetings with         0.91   $325.00    $295.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 09/29/2022 - Document              8.05   $325.00   $2,616.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              3.20   $325.00   $1,040.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/30/2022 - Report and            2.00   $425.00    $850.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              3.08   $325.00   $1,001.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/30/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              3.33   $395.00   $1,315.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 09/30/2022 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Victoria Foster


                                                           Page 45 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 47 of 100

Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   9.00            $395.00             $3,555.00
                  Review/Data Analysis/Verification Work / Linda Brooke


Service           Texas Foster Care Monitoring - 09/30/2022 - Project                    0.33            $395.00               $130.35
                  Management & Planning / Linda Brooke


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   1.58            $250.00               $395.00
                  Review/Data Analysis/Verification Work / Catherine Morris


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   4.33            $250.00             $1,082.50
                  Review/Data Analysis/Verification Work / Catherine Morris


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   0.92            $250.00               $230.00
                  Review/Data Analysis/Verification Work / Catherine Morris


Service           Texas Foster Care Monitoring - 09/30/2022 - Report and                 2.00            $250.00               $500.00
                  Document Preparation / Deborah Borman


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   8.58            $325.00             $2,788.50
                  Review/Data Analysis/Verification Work / Nancy Arrigona


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   2.00            $325.00               $650.00
                  Review/Data Analysis/Verification Work / Viveca Martinez


Service           Texas Foster Care Monitoring - 09/30/2022 - Document                   7.75            $325.00             $2,518.75
                  Review/Data Analysis/Verification Work / Clarice Rogers


Product           Expenses for Texas Foster Care Monitoring (09/01/2022 -                1.00           $1,856.55            $1,856.55
                  09/30/2022)


                                                                                                 Amount Due            $735,675.53




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                            Page 46 of 46
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 48 of 100

Expense report for                                                 Texas Appleseed
Invoice 38

09/09/2022                               $378.55

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shelly Voss
Hotel for ACH Child and Family Services site
monitoring visit




                                               Page 1 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 49 of 100




                              Page 2 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 50 of 100
09/17/2022                               $378.55

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Beth Mitchell




09/20/2022                               $336.34

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
Car Rental for Paloma Place Site Visit




                                             Page 3 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 51 of 100




                              Page 4 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 52 of 100
09/20/2022                              $71.45

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
Roasted Coffee




                                           Page 5 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 53 of 100




                              Page 6 of 53
            Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 54 of 100
09/20/2022                              $29.99

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
Starbucks




                                           Page 7 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 55 of 100




                              Page 8 of 53
           Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 56 of 100
09/20/2022                              $57.09

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
Pilot Gas for rental car




                                           Page 9 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 57 of 100




                              Page 10 of 53
           Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 58 of 100
09/20/2022                              $39.54

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
Pilot Site Visit food




                                          Page 11 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 59 of 100




                              Page 12 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 60 of 100
09/22/2022                             $280.35

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
Paloma Place Site Visit Room 313




                                          Page 13 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 61 of 100




                              Page 14 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 62 of 100




                              Page 15 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 63 of 100
09/22/2022                              $51.42

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
Stripes (GAS)




                                          Page 16 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 64 of 100




                              Page 17 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 65 of 100
09/22/2022                              $80.60

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
Roasted Coffee




                                          Page 18 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 66 of 100




                              Page 19 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 67 of 100
09/22/2022                              $94.72

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
Corner Bakery Site Visit




                                          Page 20 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 68 of 100




                              Page 21 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 69 of 100
09/22/2022                             $274.48

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
Paloma Place Site Visit Room 307




                                          Page 22 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 70 of 100




                              Page 23 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 71 of 100




                              Page 24 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 72 of 100
09/22/2022                             $280.35

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
Paloma Place Site Visit Room 203




                                          Page 25 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 73 of 100




                              Page 26 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 74 of 100




                              Page 27 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 75 of 100
09/22/2022                             $280.35

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
Paloma Place Site Visit Room 201




                                          Page 28 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 76 of 100




                              Page 29 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 77 of 100




                              Page 30 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 78 of 100
09/23/2022                              $36.74

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Team refreshments - onsite




                                          Page 31 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 79 of 100




                              Page 32 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 80 of 100
09/23/2022                              $20.28

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Breakfast for 2




                                          Page 33 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 81 of 100




                              Page 34 of 53
           Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 82 of 100
09/23/2022                                  $1,121.40

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Linda Brooke
Hotel for 4 staff - 2 nights each. Site visit -
Paloma Place




                                                  Page 35 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 83 of 100




                              Page 36 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 84 of 100




                              Page 37 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 85 of 100




                              Page 38 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 86 of 100




                              Page 39 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 87 of 100




                              Page 40 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 88 of 100




                              Page 41 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 89 of 100




                              Page 42 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 90 of 100




                              Page 43 of 53
           Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 91 of 100
09/23/2022                                $303.75

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Site visit Sept 20 -22. [486.0 miles]


09/30/2022                                $458.49

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shelly Voss
Hotel receipt for site visit at Moving Forward RTC




                                              Page 44 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 92 of 100




                              Page 45 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 93 of 100
09/09/2022                           $378.55

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Catherine Morris
Hotel for ACH Site Visit




09/09/2022                           $378.55

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Kristi Law
Hotel Receipt




                                          Page 46 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 94 of 100




                              Page 47 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 95 of 100
09/20/2022                              $205.22

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Meals
Person     Deborah Fowler
DF - 09.20.22 - Snoopy's - Dinner for team
Corpus Site Visit - $205.22




                                             Page 48 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 96 of 100




                              Page 49 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 97 of 100
09/20/2022                                $136.88

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Mileage
Person     Deborah Fowler
Austin - Corpus Christi - 219 miles [219.0 miles]


09/21/2022                                $161.98

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Meals
Person     Deborah Fowler
DF - 09.21.22 - Brewster Street Icehouse -
Dinner for team Corpus Visit $161.98




                                               Page 50 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 98 of 100




                              Page 51 of 53
          Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 99 of 100
09/22/2022                                $136.88

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Mileage
Person     Deborah Fowler
Corpus Christi - Austin 219 miles [219.0 miles]


09/30/2022                                $458.49

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Kristi Law




                                              Page 52 of 53
Case 2:11-cv-00084 Document 1293 Filed on 10/21/22 in TXSD Page 100 of 100




                              Page 53 of 53
